                        Case
    Fill in this information     24-33557
                             to identify the case:Document 14                  Filed in TXSB on 08/13/24 Page 1 of 7
                     Highland Salon , LP                                                                              United States Courts
    Debtor
                                                                                                                    Southern District of Texas
    United States Bankruptcy Court for the: _s_o_u_t_he_r_n_ _ _ _ _ _ District of Texas
                       ~'-\ _
                                    3 55
                                         -,.                                           (State)
                                                                                                                               FILED
    Case number                 3
    (If known)
                                                                                                                         AUG 13 2024
                                                                                                                                                 D Check if this is an
                                                                                                                                                    amended filing
  Official Form 206E/F                     Nathan Ochsner, Clerk of Court

  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule AIB: Assets - Real and Personal Property (Official Form 206A/BJ and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form .

                 List All Creditors with PRIORITY Unsecured Claims

 1. DO)ltlY creditors have priority unsecured claims? (See 11 U.S.C. § 507) .
     isl No. Go to Part 2.
     D Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
     3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                      Total claim                Priority amount
fll Priority creditor's name and mailing address               As of the petition filing date, the claim is: $                                   $_ _ _ _ _ __
                                                               Check all that apply.                                 ---------
                                                               □ Contingent
                                                               D Unliquidated
                                                               D Disputed
     Date or dates debt was incurred                           Basis for the claim:



     Last 4 digits of account                                  Is the claim subject to offset?
     number                                                    0 No
                                                               D Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) L____)


m    Priority creditor's name and mailing address              As of the petition filing date, the claim is: $
                                                               Check all that apply.                                 ---------
                                                                                                                                                 $_ _ _ _ _ __

                                                               □ Contingent
                                                               D Unliquidated
                                                               D Disputed
     Date or dates debt was incurred                           Basis for the claim:



     Last 4 digits of account                                  Is the claim subject to offset?
     number                                                    0 No
                                                               D Yes
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) L____)


fll Priority creditor's name and mailing address               As of the petition filing date, the claim is: $                                   $_ _ _ _ _ __
                                                               Check all that apply.                                ·---------
                                                               □ Contingent
                                                               D Unliquidated
                                                               D Disputed
     Date or dates debt was incurred                           Basis for the claim:



     Last 4 digits of account                                  Is the claim subject to offset?
     number                                                    0 No
                                                               0 Yes
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) L____)




                                                                                                                                                                     7
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  Debtor                                                                                       Case number (ii known), _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 Name      Case 24-33557 Document 14 Filed in TXSB on 08/13/24 Page 2 of 7
■ If   F     Additional Page

 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim            Priority amount



LJ Priority creditor's name and mailing address                                                         $._ _ _ _ _ _ _ __
                                                       As of the petition filing date, the claim is:
                                                       Check all that apply.
                                                       0   Contingent
                                                       0   Unliquidated
                                                       0   Disputed


      Date or dates debt was incurred                   Basis for the claim:



      Last 4 digits of account                         Is the claim subject to offset?
      number                                           0   No
                                                       0   Yes
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) ( _ )


LJ Priority creditor's name and mailing address                                                         $._ _ _ _ _ _ _ __     $_ _ _ _ _ __
                                                       As of the petition filing date, the claim is:
                                                       Check all that apply.
                                                       0   Contingent
                                                       0   Unliquidated
                                                       0   Disputed


      Date or dates debt was incurred                   Basis for the claim:



      Last 4 digits of account                         Is the claim subject to offset?
      number                                           0   No
                                                       0   Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) ( _ )
                                 ----------------------
LJ Priority creditor's name and mailing address                                                         $_ _ _ _ _ _ _ __      $_ _ _ _ _ __
                                                       As of the petition filing date, the claim is :
                                                       Check all that apply.
                                                       0 Contingent
                                                       0 Unliquidated
                                                       D Disputed

      Date or dates debt was incurred                   Basis for the claim:



      Last 4 digits of account                         Is the claim subject to offset?
      number                                           0 No
                                                       D Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) ( _ )

LJ Priority creditor's name and mailing address        As of the petition filing date, the claim is:    $. _ _ _ _ _ _ _ __
                                                                                                                                $_ _ _ _ _ __
                                                       Check all that apply.
                                                       D Contingent
                                                       D Unliquidated
                                                       D Disputed

      Date or dates debt was incurred                   Basis for the claim:



      Last 4 digits of account                         Is the claim subject to offset?
      number                                           0 No
                                                       D Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) ( _ )



                                                                                                                                                           7
    Offir.i::i l Fnrm ?Of,FIF                                                                                                                         nf
  Debtor                                                                                                   Case number (if known). _ _ _ __ _ _ _ _ _ _ _ _ __
                              Case 24-33557 Document 14 Filed in TXSB on 08/13/24 Page 3 of 7
               List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims . If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fi ll out and attach the Additional Page of Part 2.
                                                                                                                                          Amount of claim

B   Nonpriority cred itor's name and mailing address                          As of the petition filing date, the claim is:
                                                                                                                                     $
                                                                                                                                               1,450.61
      O'Connor & Associates                                                   Check all that apply                                       - - -- - - - - -- - - -
                                                                              D Contingent
       2200 North Loop West, Suite 200
                                                                              D Unliquidated
                                                                              D Disputed
       Houston, TX 77018
                                                                              Basis for the claim:         Legal representation

    Date or dates debt was incurred             07/10/2024                    Is the claim subject to offset?
                                                                              0 No
    Last 4 digits of account number                                           D Yes
B   Nonpriority creditor's na~ e and mailing address                          As of the petition filing date, the claim is:
                                                                              Check all that apply.
                                                                                                                                              571
                                                                                                                                     $._ _ _ _ _ __ __ _ __
           AT&T                                                               D Contingent
           208 S. Akard St.
                                                                              D Unliquidated
                                                                              D Di sputed
        Dallas, TX 75202
                                                                              Basis for the claim: _ _l_n_
                                                                                                         te_rn_e_t_S_e_rv_ic_e_ __

                                                03/01/2024                    Is the claim subject to offset?
    Date or dates debt was incurred
                                                                              0 No
    Last 4 digits of account number                                           D Yes
                                                                                                                                             -------
~ Nonpriority creditor's name and mailing address                             As of the petition filing date, the claim is :                      13,570
                                                                              Check all that apply                                   $
     Bryant, Harvey, Wry PLC                                                                                                         · -- - - -- - -- - - -
                                                                              D Contingent
      1500 Citywest Boulevard, Suite 525                                      D Unliquidated
                                                                              D Disputed
       Houston, TX 77042
                                                                              Basis for the claim: _ _ _ _ _ _ _ _ __

    Date or dates debt was incurred             01 /01/2018                   Is the claim subject to offset?
                                                                              0 No
    Last 4 digits of account number                                           D Yes
B   Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is:
                                                                              Check all that apply
                                                                                                                                     $._ _ __ _ _ _ _ _ __ __

                                                                              D Contingent
                                                                              D Unliquidated
                                                                              D Disputed
                                                                              Basis for the claim: _ _ _ _ _ _ _ _ __

    Date or dates debt was incurred                                           Is the claim subject to offset?
                                                                              0 No
    Last 4 digits of account number                                           D Yes
~ Nonpriority creditor's name and mailing address                             As of the petition filing date, the claim is:
                                                                              Check all that apply
                                                                                                                                     $_ _ _ _ _ _ _ _ _ _ _ __
                                                                              D Contingent
                                                                              D Unliquidated
                                                                              D Disputed
                                                                              Basis for the claim: _ _ _ _ _ _ _ _ __

    Date or dates debt was incurred                                           Is the claim subject to offset?
                                                                              0 No
    Last 4 digits of account number                                           D Yes
~ Nonpriority cred itor's name and mailing address-                           As of the petition filing date, the claim is:
                                                                                                                                     $._ __ _ _ _ _ _ _ _ _ __
                                                                              Check all that apply
                                                                              D Contingent
                                                                              D Unliq uidated
                                                                              D Disputed
                                                                              Basis for the claim : _ _ _ _ _ _ _ _ __

    Date or dates debt was incurred                                           Is the claim subject to offset?
                                                                              0 No
    Last 4 digits of account number                                           D Yes


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      Debtor           Highlacv1 Salon I P                                                      Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     Name
                              Case 24-33557 Document 14 Filed in TXSB on 08/13/24 Page 4 of 7
■,,, Additional Page
      Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
      previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


/3.     / Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is :
                                                                       Check all that apply.                            $_ _ _ _ _ _ _ _ _ _ _ __
                                                                       D Contingent
                                                                       D Unliquidated
                                                                       D Disputed
                                                                       D Liquidated and neither contingent nor
                                                                           disputed

                                                                       Basis for the claim: _ _ _ _ _ _ _ _ __

            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       0 No
            Last 4 digits of account number                            D Yes

13.     I Nonpriority creditor's name and mailing address              As of the petition filing date, t he claim is:
                                                                       Check all that apply.                            $_ __ _ _ _ _ _ _ _ _ __
                                                                       D Contingent
                                                                       D Unliquidated
                                                                       D Disputed

                                                                       Basis for the claim: _ _ _ _ _ _ _ _ __

            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       0 No
            Last 4 digits of account number                            D Yes

J3.     I   Nonpriority creditor's name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.                            $_ _ _ _ _ _ _ _ _ _ _ __
                                                                       D Contingent
                                                                       0 Unliquidated
                                                                       D Disputed

                                                                       Basis for the claim: _ _ _ _ _ _ _ _ __

            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       0 No
            Last 4 digits of account number                            D Yes

/3.     / Nonpri ority cred itor's name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        $_ _ _ _ _ _ _ _ _ _ _ __
                                                                       Check all that apply.
                                                                       D Contingent
                                                                       D Unliquidated
                                                                       0 Disputed

                                                                       Basis for the claim: _ _ _ _ _ _ _ _ __

            Date or dates debt was incurred                            Is the claim subj ect to offset?
                                                                       0 No
            Last 4 digits of account number                            0 Yes


/3.     / Nonpriority creditor's name and mailing address
                                                                       As of the petition filing date, the claim is :
                                                                                                                        $_ _ _ _ _ _ _ _ _ _ _ __
                                                                       Check all that apply.
                                                                       0   Contingent
                                                                       D   Unliquidated
                                                                       D   Disputed

                                                                       Basis for the claim: _ _ _ _ _ _ _ _ __

            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       0 No
            Last 4 digits of account number                            0 Yes




                                                                                                                                                          7
        Offir.i::il Fnrm ?Of;FIF                                                                                                            n::inP 4 nf
   Debtor             Highland Salon I P                                                                   Case number (if known), _ _ _ _ _ _ _ _ __ _ __ __
                     Name
                            Case 24-33557 Document 14 Filed in TXSB on 08/13/24 Page 5 of 7
                    List Others to Be Notified About Unsecured Claims


4. List In alphabetical order any others who must be notified for claims listed In Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above , and attorneys for unsecured creditors.
        If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



             Name and mailing address                                                             On which line in Part 1 or Part 2 is the      Last 4 digits of
                                                                                                  related creditor (if any) listed?             account number, if
                                                                                                                                                any

4.1.                                                                                              Line
                                                                                                  0      Not listed . Explain _ _ _ _ __


4.2.                                                                                              Line

                                                                                                  0      Not listed. Explain _ _ _ _ __



4.3.                                                                                              Line

                                                                                                  0      Not listed. Explain


4.4 .                                                                                             Line

                                                                                                  0      Not listed . Explain


41 .                                                                                              Line

                                                                                                  0      Not listed . Explain


4.5.                                                                                              Line

                                                                                                  0      Not listed . Explain _ _ _ _ __



4.6.                                                                                              Line

                                                                                                  0      Not listed . Explain _ _ _ _ __



4.7.                                                                                              Line

                                                                                                  0      Not listed . Explain _ _ _ _ __



4.8.                                                                                              Line

                                                                                                  0      Not listed. Exp lain _ _ _ _ __



4.9.                                                                                              Line

                                                                                                  0      Not listed . Explain _ _ _ _ __



4.10.                                                                                             Line

                                                                                                  0      Not listed. Explain _ _ _ _ __



4.11 .
                                                                                                  Line

                                                                                                  0      Not listed . Explain _ _ _ _ __




        ()ffid;:,I Fnrm ?ORF/F                          ~r.hArl11IA F/F : r.rArlitor~ Who H:>vP. I ln~P.r.11rArl r.l:>im~                                  n:,ne,   nf
     Debtor         Highland Salon I P                                                               Case number (it known) _ _ _ _ _ _ _ _ _ _ _ _ __
                  Name    Case 24-33557 Document 14 Filed in TXSB on 08/13/24 Page 6 of 7
               Additional Page for Others to Be Notified About Unsecured Claims


          Name and mailing address                                                          On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                            related creditor (if any) listed?          account number,
                                                                                                                                       if any
4._                                                                                         Line
                                                                                            □      Not listed. Explain


4.                                                                                          Line
                                                                                            □      Not listed. Explain


4.                                                                                          Line
                                                                                            □      Not listed. Explain


4.                                                                                          Line

                                                                                            □      Not listed . Explain


4                                                                                           Line

                                                                                            □      Not listed . Explain


4                                                                                           Line

                                                                                            □      Not listed . Explain


4                                                                                           Line
                                                                                            □      Not listed . Explain


4.                                                                                          Line
                                                                                            D      Not listed . Explain _ _ _ _ __


4.                                                                                          Line

                                                                                            D      Not listed. Explain _ _ _ _ __


4.                                                                                          Line
                                                                                            D      Not listed . Explain _ _ _ _ __


4.                                                                                          Line
                                                                                            D      Not listed . Explain _ _ _ _ __


4.                                                                                          Line
                                                                                            D      Not listed. Explain _ _ _ _ __


4._                                                                                         Line

                                                                                            D      Not listed. Explain _ _ _ _ __


4                                                                                           Line

                                                                                            D      Not listed . Explain _ _ _ _ __




      Offir.i;il Fnrm ?ORF/F                Sr.hPtl11IP F i l=· C':rPtlitnr!': Whn H;ivp I ln!':Pl"'.llrPtl C':l;iim!':                         n;inp     nf
 Debtor           Highland Salon I P                                                           Case number (ii known),______ __ _ _ __ _ __ _
                 Name    Case 24-33557 Document 14 Filed in TXSB on 08/13/24 Page 7 of 7
              Total Amounts of the Priority and Nonpriority Unsecured Claims


s. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                       Total of claim amounts


                                                                                                                               0 _ _ _ _ _ _ __
                                                                                                                       $._ _ _ _
Sa. Total claims from Part 1                                                                                Sa.




Sb. Total claims from Part 2                                                                                Sb.    +   $   15591 .61



Sc. Total of Parts 1 and 2
                                                                                                             Sc.       $   15591 61
    Lines Sa + Sb = Sc.




   ()ffir.i::il Fnrm ?ORF /F                 !-.r. hAn11IA F/F · C:rAnitnr" Whn H::ivA I Jn,.Ar.llrAn C:l::iim"                                 n::inA 7 nf 7
